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                                                               September 20, 2016

 BY ECF
 Honorable Robert M. Levy
 United States Magistrate Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re:     Happy v. City of New York, et al., 15 CV 6232 (JBW) (RML)

 Your Honor:

        I represent plaintiff in the above-referenced matter. The matter has been settled.
 In connection with the settlement of the infant plaintiff’s claims, I respectfully enclose
 the following:

              1. A proposed Infant Compromise Order;

              2. An affidavit of the infant plaintiff’s mother, Nurun Happy, in support of
                 the proposed Infant Compromise; and

              3. A declaration of the undersigned in support of the proposed Infant
                 Compromise and supporting exhibit.

       Plaintiff respectfully requests that the Court review the enclosed materials and
 endorse the proposed order.1 Thank you for your consideration of this request.




 1
   Based on prior experience, the City Comptroller will not act based on a “proposed” order.
 Accordingly, should the Court endorse plaintiff’s proposed order, plaintiff respectfully requests that
 the Court strike the word “proposed” from the caption.
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         Thank you for your attention to this matter.


                                                        Respectfully submitted,


                                                        Gabriel P. Harvis

 Encl.

 cc:     ACC Matthew McQueen, Esq.




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